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                                       UNITED STATES DISTRICT COURT                                                   JAN 25       2016
                                                  WESTERN DISTRICT OF TEXAS                                       CLERK U
                                                      MIDLAND DIVISION                                            ES1ER

 UNITED STATES OF AMERICA
                                                                              Case Number: 7:15-CR-00219-RA J(1)U
 V.
                                                                              USM Number: 58637-3 80

 JASON FLOWERS

          Defendant.

                                           JUDGMENT IN A CRIMINAL CASE
                                    (For Offenses Committed On or After November 1, 1987)

          The defendant, JASON FLOWERS, was represented by Steve Hershberger, Esq.

          The defendant pled guilty to Count(s) One of the Indictment on November 12, 2015. Accordingly, the defendant is adjudged
 guilty of such Count(s), involving the following offense(s):

        Title & Section                         Nature of Offense                        Offense Ended                      Count

21 USC § 841(a)(1)                  Distribution of a Quantity of a Mixture and            09/10/2015                        One
21 USC § 841(b)(1)(C)               Substance Containing Methamphetamine


          As pronounced on January 20, 2016, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
 sentence is imposed pursuant to the Sentencing Reform Act of 1984.

          It is further ordered that the defendant shall notifv the United States Attorney for this district within 30 days of any change of
 name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
 If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
 circumstances.

          Signed   thisday of January, 2016.


                                                                                         ,OBERT A. JUNELL
                                                                                    Seniót'United States District Judge
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DEFENDANT:                    JASON FLOWERS
CASE NUMBER:                  7: 15-CR-00219-RAJ(1)


                                                         IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
forty six (46) months as to count one with credit for time served while in custody for this federal offense pursuant to 18 U.S.C. §
3585(b).

           The Court makes the following recommendations to the Bureau of Prisons:

           That the defendant serve this sentence at F. C. I. Seagoville.

           That if eligible, the defendant participate in the 500   Hour Intensive Drug Abuse Education Program.

           That the defendant participate in the Bureau of Prisons' Inmate Job Training Program while incarcerated.

           That the defendant participate in the Bureau of Prisons' Inmate Education Program while incarcerated.

           The defendant shall remain in custody pending service of sentence.




                                                                RETURN
I   have executed this judgment as follows:




           Defendant delivered on                                     to

at                                          with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL




                                                                                                      By
                                                                                       DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                 JASON FLOWERS
CASE NUMBER:               7:15-CR-00219-RAJ(l)

                                                   SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3) years.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special
conditions that have been adopted by this Court, and shall comply with the following additional conditions:


         The defendant shall abstain from the use of all intoxicants, including alcohol, marijuana, synthetic marijuana, and bath
         salts, during the term of supervision.

         The defendant shall not be permitted to reside any place where firearms are possessed or stored.

         The defendant shall continue to pay previously order child support and any amount that may be in arrears.
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DEFENDANT:                   JASON FLOWERS
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                                            CONDITIONS OF SUPERVISION
Mandatory Conditions:

1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not unlawfully possess a controlled substance.

3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
      days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court) for
      use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
      defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
      defendant.

4)    In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
      released within 72 hours of release from custody of the Bureau of Prisons.

5)    If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
      weapon.

6)    The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample is
      authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 141 35a).

7)    If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the defendant comply
      with the requirements of the Act.

8)    If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
      program for domestic violence.

9)    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pays in accordance with the
      Schedule of Payments sheet of the judgment.

Standard Conditions:

1)    The defendant shall not leave the judicial district without permission of the court or probation officer.

2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4)    The defendant shall support his or her dependents and meet other family obligations, and shall comply with the terms of any court
      order or order of an administrative process requiring payments by the defendant for the support and maintenance of a child or of a
      child and the parent with whom the child is living.

5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons.

6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
      of a felony, unless granted permission to do so by the probation officer.

10)   The defendant shall permit a probation officer to visit him or her at any time, at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view of the probation officer.

11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer.
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DEFENDANT:                  JASON FLOWERS
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12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court.

13)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
      confirm the defendant's compliance with such notification requirement.

14)   If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a State
      or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
      circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
      approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
      offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
      conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount
      to be determined by the probation officer, based on the defendant's ability to pay.

15)   The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation
      officer, and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the
      probation officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing and
      examination to determine if the defendant has reverted to the use of drugs or alcohol. During treatment, the defendant
      shall abstain from the use of alcohol and any and all intoxicants. The defendant may be required to contribute to the
      cost of the services rendered (copayment) in an amount to be determined by the probation officer, based upon the
      defendant's ability to pay.

16)   The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
      necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
      The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined by
      the probation officer, based upon the defendant's ability to pay.

17)   The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
      necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
      administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18)   The defendant shall participate in workforce development programs and services as directed by the probation officer, and if
      deemed necessary by the probation officer, which include occupational/career development, including but not limited to
      assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
      successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19)   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
      be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
      defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall immediately
      report in person to the nearest U.S. Probation Office.

20)    If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pays such penalties
      in accordance with the Schedule of Payments sheet of the judgment.

21)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of supervision
      that the defendant shall provide the probation officer access to any requested financial information.

22)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of supervision
      that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation
      officer, unless the defendant is in compliance with the payment schedule.
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     DEFENDANT:                            JASON FLOWERS
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                                           CRIMINAL MONETARY PENALTIES/SCHEDULE
              The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
     forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
     penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal Bureau of Prisons'
     Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655 E. Cesar E. Chavez Blvd,
     Room G65, San Antonio, TX 78206. The defendant shall receive credit for all payments previously made toward any criminal
     monetary penalties imposed.

                                                                                 Assessment                                                   Fine                                Restitution
     TOTALS                                                                         $100.00                                             $5,000.00                                              $00

                                                                                 SPECIAL ASSESSMENT

             It is ordered that the defendant shall pay to the United States a special assessment of $100.00. Payment of this sum shall
     begin immediately.

                                                                                                 FINE

                  The defendant shall pay a fine of $5,000.00.



                                                                             SCHEDULE OF PAYMENTS
               Payment at a rate established by the U.S. Probation Office shall be made by the third day of each month beginning 60 days
     after release from imprisonment. The Court imposed payment schedule shall not prevent statutorily authorized collection efforts by
     the U.S. Attorney. The defendant shall cooperate fully with the U.S. Attorney and the U.S. Probation Offi9ce to make payment in full
     as soon as possible.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

              Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters       1   09A, 110,   11 OA,   and 11 3A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
